ILND 450 (Rev.Case:   1:17-cv-02330
              10/13) Judgment in a Civil ActionDocument   #: 160 Filed: 08/08/19 Page 1 of 1 PageID #:3578

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Claudia S. Martin,

    Plaintiff(s),
                                                                   Case No. 17 C 2330
    v.                                                             Judge Gary Feinerman

    Cook County, Illinois et al,

    Defendant(s).

                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which       includes       pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment is entered in favor of Defendant Cook County, Illinois, et al., and against
Plaintiff Claudia S. Martin. Plaintiff's claims are dismissed, and she is entitled to no relief.

This action was (check one):

         tried by a jury with Judge     presiding, and the jury has rendered a verdict.
         tried by Judge     without a jury and the above decision was reached.
         decided by Judge Gary Feinerman on a motion for summary judgment.



Date: 8/8/2019                                                 Thomas G. Bruton, Clerk of Court

                                                               /s/ Jackie Deanes , Deputy Clerk
